                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Minnesota Chamber of Commerce, a                   File No. 23-cv-2015 (ECT/JFD)
 Minnesota nonprofit corporation,

                      Plaintiff,

 vs.                                                           ORDER

 John Choi, in his official capacity as County
 Attorney for Ramsey County, Minnesota;
 George Soule, in his official capacity as
 Chair of the Minnesota Campaign Finance
 and Public Disclosure Board; David Asp, in
 his official capacity as Vice Chair of the
 Minnesota Campaign Finance and Public
 Disclosure Board; Carol Flynn, in her
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board; Margaret Leppik, in her
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board; Stephen Swanson, in his
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board; and Faris Rashid, in his
 official capacity as Member of the
 Minnesota Campaign Finance and Public
 Disclosure Board,

        Defendants.


       The parties intend to file cross-motions for summary judgment. ECF No. 116. To

reduce duplicative briefing, the parties have filed, and seek approval of, a Stipulation on

Briefing Schedule for Summary Judgment Motions. Id. Based on all the files, record, and

proceedings in the above-captioned matter, IT IS ORDERED THAT:
       1.     A non-party wishing to serve as amicus curia shall appear and file a motion

seeking leave to file an amicus brief on or before August 2, 2024. Motions seeking leave

to file an amicus brief shall briefly describe the non-party’s interest in this case.

       2.     Plaintiff’s motion for summary judgment and opening memorandum are due

on or before July 19, 2024.

       3.     Defendants’ motion for summary judgment and opening memorandum are

due on or before August 9, 2024. In that same memorandum, Defendants must respond to

Plaintiff’s opening memorandum.

       4.     Plaintiff’s reply memorandum is due on or before September 6, 2024. In

that same memorandum, Plaintiff must respond to Defendants’ opening memorandum.

       5.     Defendants’ reply memorandum is due on or before September 19, 2024.

       6.     Any supporting declarations and exhibits must be filed simultaneously with

the memorandum those materials support.

       7.     Plaintiff’s two memoranda together must not exceed 15,000 words.

Defendants’ two memoranda together must not exceed 15,000 words.

       8.     A hearing on the parties’ cross-motions for summary judgment is set for

October 15, 2024, at 9:00 a.m. in Courtroom 7D in St. Paul.


Dated: June 13, 2024                               s/ Eric C. Tostrud
                                                   Eric C. Tostrud
                                                   United States District Court




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